














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-1528-09





JEFFERY STEVEN HARDY, Appellant


  

v.


  										

THE STATE OF TEXAS


  


  

ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW


FROM THE SIXTH COURT OF APPEALS

GREGG COUNTY




Per curiam. KEASLER and HERVEY, JJ., dissent.


ORDER

	The petition for discretionary review violates Rule of Appellate Procedure 68.4(i)
because the original petition does not contain a complete copy of the opinion of the court
of appeals.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition and copies must be
filed in the Court of Criminal Appeals within thirty days after the date of this order.

En banc

Delivered: February 10, 2010.

Do Not Publish


